        Case 2:18-cr-00379-JMV Document 156 Filed 12/13/19 Page 1 of 1 PageID: 2666
                                UNITED STATED DISTRICT COURT
                                    DISTRICT OF NEW JERSEY
                                   MINUTES OF PROCEEDINGS


OFFICE: NEWARK                                          DATE: 12/13/19
JUDGE: JOHN MICHAEL VAZQUEZ
COURT REPORTER: Lisa A. Larsen

TITLE OF CASE:                                          DOCKET # 18-379


U.S. v Dxrams

APPEARANCES:

Anthony Moscato, AUSA
Lakshmi Herman, AUSA
Michael Orozco, Esq.


Nature of Proceedings:     STATUS CONFERENCE

Status conference held on the record.
Government shall file its response to Defendant’s pending motion for acquittal by Tuesday,
December 17, 2019.



Time Commenced: 10:30
Time Adjourned: 11:10
Total Time: 40 min


                                             RoseMarie Olivieri
                                             SENIOR COURTROOM DEPUTY
